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                         IN UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


 RAY MANWARREN,

                  Plaintiff,

        v.
                                                 Case No. 3:11-cv-00963-DGW-JPG
 UNITED REVENUE CORP.,



                  Defendant.



                                         JUDGMENT

               This matter having come before the Court, and the plaintiff having filed a notice

of dismissal with prejudice,


               IT IS HEREBY ORDERED AND ADJUDGED that this case is dismissed with

prejudice.


       DATED: December 14, 2011




                                                    NANCY ROSENSTENGEL, CLERK


                                                    By:s/Deborah Agans, Deputy Clerk




       Approved: s./ J. Phil Gilbert
                   J. PHIL GILBERT
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               DISTRICT JUDGE
